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           16
                                               UNITED STATES DISTRICT COURT
           17
                                            NORTHERN DISTRICT OF CALIFORNIA
           18
                                                        OAKLAND DIVISION
           19

           20
                 EPIC GAMES, INC.                                Case No. 4:20-cv-05640-YGR
           21
                         Plaintiff, Counter-defendant            APPLE INC.’S ADMINISTRATIVE
           22    v.                                              MOTION TO SEAL
           23    APPLE INC.,                                     The Honorable Thomas S. Hixson
           24
                         Defendant, Counterclaimant
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             1          Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

             2   respectfully moves the Court to seal certain documents produced in discovery and parts of Apple’s

             3   privilege log entries that the Court ordered Apple to file. See Dkts. 1039, 1041. The documents should

             4   be sealed in full because they reflect non-public, confidential, and sensitive Apple business

             5   information, and narrow portions of the privilege log entries should be sealed because they reveal

             6   Apple’s business codenames regarding ongoing confidential projects and employees’ personal

             7   identifying information.

             8                                           LEGAL STANDARD

             9          The Court has “broad latitude” “to prevent disclosure of materials for many types of

           10    information, including, but not limited to, trade secrets or other confidential research, development, or

           11    confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002)

           12    (emphasis in original); Fed. R. Civ. P. 26(c)(1)(G). To seal information related to non-dispositive

           13    discovery motions, the movant must establish “good cause.” In re Anthem, Inc. Data Breach Litig.,

           14    2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Kamakana v. City & Cty. of Honolulu, 447 F.3d

           15    1172, 1179-80 (9th Cir. 2006).

           16                                                DISCUSSION

           17           Apple seeks to seal competitively sensitive business information regarding its internal analysis,

           18    research, pricing, design, and communications decisions related to the launch of the External Purchase

           19    Link Entitlement (the “linkout entitlement”). The documents ordered to be filed with this court contain

           20    information about the analysis undertaken in developing the commission and pricing structure for the

           21    linkout entitlement, the design for the linkout entitlement, and the communications strategy for the

           22    launch of the linkout entitlement. Perry Decl. ¶ 5. These documents reveal Apple’s sensitive pricing

           23    and financial information,reflect details of Apple’s decision-making process for pricing, design, and

           24    communications strategy, and the privilege log entries reveal Apple’s business codenames regarding

           25    ongoing confidential projects and employees’ personal identifying information. Id.

           26           Apple’s administrative motion to seal is subject to the “good cause” standard because it

           27    concerns a non-dispositive discovery dispute over privilege, and “discovery is largely ‘conducted in

           28    private as a matter of modern practice,’” and “the public is not presumed to have a right of access to

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             1   it.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016); see Kamakana

             2   v. City and County of Honolulu, 447 F.3d 1172, 1179–80 (9th Cir. 2006). Here, the good cause test

             3   applies because the privilege dispute is “no more than tangentially related to the merits of” Epic’s

             4   motion to enforce the injunction. E.g., Wills v. City of Monterey, 2024 WL 1008596, at *4 (N.D. Cal.

             5   Mar. 8, 2024); see also In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prod. Liab. Litig.,

             6   2019 WL 13268668, at *3 (N.D. Cal. Sept. 13, 2019) (applying the good cause test to a motion to seal

             7   materials in connection with a 30(b)(6) dispute); Grace v. Apple, Inc., 2018 WL 11319051, at *1 (N.D.

             8   Cal. Apr. 3, 2018) (applying the good cause test to a motion to seal materials in connection with a

             9   discovery letter brief). Indeed, where documents are “reviewed in camera” to evaluate privilege claims,

           10    courts apply the “good cause” standard for sealing. Glass v. DocuSign, Inc., 2023 WL 5180361, at *5

           11    (N.D. Cal. Aug. 11, 2023).

           12           Sealing is warranted here because the documents cited in the Parties’ joint discovery brief

           13    contain proprietary, commercially sensitive, and confidential information about Apple’s decision-

           14    making process for pricing, design, and communications strategy, and the privilege log entries reveal

           15    Apple’s business codenames regarding ongoing confidential projects and employees’ personal

           16    identifying information. Perry Decl. ¶ 5. Apple operates in an intensely competitive environment, and

           17    thus has taken extensive measures to protect the confidentiality of its information. See Id. ¶ 3. Public

           18    access to this information would cause Apple economic harm and put it at a disadvantage with

           19    competitors by disclosing Apple’s business strategy and the manner in which it analyzes prices and

           20    makes design and communications decisions. Id. ¶¶ 4, 6. Courts routinely hold that such material is

           21    sealable because its disclosure can be competitively harmful. See, e.g., Krommenhock v. Post Foods,

           22    LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “confidential

           23    information regarding formulas, costs of production, pricing strategy and analysis of pricing”). 1 All of

           24
                 1
           25      See also Virun, Inc. v. Cymbiotika, LLC, 2022 WL 17401698, at *2 (C.D. Cal. Aug. 19, 2022)
                 (“Courts in this Circuit have found potential harms arising from public disclosure of trade secrets or a
           26    business’ confidential financial and pricing information to be sufficient reason to seal”); Hadley v.
                 Kellogg Sales Co., 2018 WL 7814785, at *2 (N.D. Cal. Sept. 5, 2018) (“The Court agrees that
           27    compelling reasons exist to seal information that may cause Kellogg competitive harm if disclosed,
                 such as information about Kellogg’s business strategies and internal decisionmaking, product
           28    formulations, and confidential finances”); Ctr. for Auto Safety, 809 F.3d at 1097 (finding compelling
                                                                                                 (Cont’d on next page)
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             1   the documents should be sealed because they reflect confidential Apple business material, that, if made

             2   public, could harm Apple’s competitive standing.

             3          Moreover, Apple has narrowly tailored its sealing request to include only the information

             4   necessary to protect Apple’s confidential business information and data. Perry Decl. ¶ 7; see Dkt. No.

             5   643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when redactions were

             6   “narrowly tailored” to “sensitive and confidential information, the disclosure of which would result in

             7   competitive harm to Apple”). Apple has only partially redacted a handful of lines of text in the privilege

             8   log entries, and the majority of Exhibit A remains unredacted. The documents subject to the privilege

             9   dispute, however, could not be redacted in part, as they are entirely composed of sensitive and

           10    confidential information, disclosure of which would result in competitive harm to Apple.

           11           Exhibit A should be sealed in part and Exhibits B–H should be sealed in full for the reasons

           12    outlined below and in the accompanying declaration of Mark Perry.

           13     Document                            Justification for Sealing
           14
                  Exhibit A (Privilege Log            Highlighted portions of this document should be sealed in full
           15     Excerpts)                           because they reflect non-public Apple project codenames.
                                                      Disclosure would reveal Apple’s internal business decision-
           16                                         making, which could be used by competitors to gain an unfair
                                                      advantage over Apple.
           17
                                                      Additional highlighted portions of this document should be sealed
           18                                         because they reflect employees’ personal identifying information,
           19                                         and individual privacy rights in personal identifying information
                                                      outweigh the presumption in favor of public access to court
           20                                         records.

           21     Exhibit B (APL-EG_10680322)         This document should be sealed in full because it reflects
                                                      sensitive information regarding Apple’s design process and
           22

           23    reasons to seal where competitors could use court records “as sources of business information that
                 might harm a litigant’s competitive standing”); Algarin v. Maybelline, LLC, 2014 WL 690410, at *3
           24    (S.D. Cal. Feb. 21, 2014) (sealing “confidential business material” where “improper use by business
                 competitors seeking to replicate L’Oréal’s business practices” may “circumvent the time and resources
           25    necessary in developing their own practices and strategies”); Baker v. SeaWorld Ent'mt, Inc., 2017 WL
                 5029612, at *5 (S.D. Cal. Nov. 3, 2017) (granting motion to seal under the compelling reasons standard
           26    for “communications regarding SeaWorld’s public relations strategy” because “disclosure of the
                 relevant documents could lead to an improper use by competitors.”) (citations omitted); Apple Inc. v.
           27    Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024) (granting request to seal “internal
                 product codenames” and noting that a prior request for the same had also been granted); Hernandez v.
           28    Cnty. of Monterey, 2023 WL 4688522, at *5 (N.D. Cal. July 21, 2023) (collecting cases finding good
                 cause to seal records containing personal identifying information).
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             1                                   communications strategy. If disclosed, this information would
                                                 cause Apple competitive harm because competitors could
             2                                   circumvent the time and resources necessary in developing their
             3                                   own practices and strategies.

             4   Exhibit C (APL-EG_10681518)     This document should be sealed in full because it reflects
                                                 sensitive information regarding Apple’s communications
             5                                   strategy. If disclosed, this information would cause Apple
                                                 competitive harm because competitors could circumvent the time
             6                                   and resources necessary in developing their own practices and
             7                                   strategies.

             8   Exhibit D (APL-EG_10682416) This document should be sealed in full because it reflects
                                             sensitive information regarding Apple’s design process and
             9                               business decision-making strategy. If disclosed, this information
                                             would cause Apple competitive harm because competitors could
           10                                circumvent the time and resources necessary in developing their
           11                                own practices and strategies.

           12    Exhibit E (APL-EG_10682431)     This document should be sealed in full because it reflects
                                                 sensitive information about Apple’s financials and about Apple’s
           13                                    decision-making in setting prices. If disclosed, this information
                                                 would cause Apple competitive harm because competitors could
           14                                    circumvent the time and resources necessary in developing their
                                                 own pricing practices and strategies.
           15

           16    Exhibit F (APL-EG_10699646)     This document should be sealed in full because it reflects
                                                 sensitive information regarding Apple’s communications
           17                                    strategy. If disclosed, this information would cause Apple
                                                 competitive harm because competitors could circumvent the time
           18                                    and resources necessary in developing their own practices and
                                                 strategies.
           19

           20    Exhibit G (APL-EG_10720488) This document should be sealed in full because it reflects
                                             sensitive information regarding Apple’s design process and
           21                                communications strategy. If disclosed, this information would
                                             cause Apple competitive harm because competitors could
           22                                circumvent the time and resources necessary in developing their
                                             own practices and strategies.
           23

           24    Exhibit H (APL-EG_10737782) This document should be sealed in full because it reflects
                                             sensitive information regarding Apple’s business decision-
           25                                making strategy. If disclosed, this information would cause
                                             Apple competitive harm because competitors could circumvent
           26                                the time and resources necessary in developing their own
                                             practices and strategies.
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             1          For the foregoing reasons, there is good cause that warrants sealing Exhibit A in part and

             2   Exhibits B–H in full.

             3                                             CONCLUSION

             4          Apple respectfully requests that the Court seal the identified documents.

             5

             6   Dated: November 1, 2024                               Respectfully submitted,

             7                                               WEIL, GOTSHAL & MANGES LLP

             8
                                                             By:       /s/ Mark A. Perry
             9                                                         Mark A. Perry
           10

           11                                                Attorney for Apple Inc.

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